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                         IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI



UNITED STATES OF AMERICA

VERSUS                                   CRIMINAL ACTION NO.: 1:12cr12KS-JCG-008

NICHOLAS JOSEPH SHIYOU

                                                ORDER

        THIS MATTER comes before the court for a Revocation Hearing in open Court on June 12,
2017, after United States Probation Officer Brandon Bang filed an official petition upon the conduct of
Defendant Nicholas Joseph Shiyou, who is serving a four year term of supervised release which began on
May 15, 2015. Albert Necaise was present and served as counsel for the defendant during the
proceedings. The Court, finds the defendant did violate the conditions of his supervised release after the
defendant admitted to violations 1 through 9 and 11 through 13 listed on the amended petition, dated May
31, 2017. The Court ordered the defendant’s conditions of supervised release to be modified and to
include the following additional special conditions:

                1) The defendant shall attend and complete an in-patient treatment program at Home of
                Grace at the defendant’s own expense.

                2) It is further ordered that when space becomes available at the treatment center, he is to
                be transported by his mother, Carol Shiyou, from the Harrison County Jail to the
                treatment center above stated. The Court is informed that space is available at the Home
                of Grace Treatment Center and that an intake for Nicholas Joseph Shiyou is set for 10:00
                a.m. Friday, June 16, 2017. Nicholas Shiyou is to be transported from the Harrison
                County Jail to the treatment center by his mother. The U.S. Marshal Service is authorized
                to notify the Harrison County Jail that Nicholas Shiyou may be released to his mother,
                Carol Shiyou at 8:00 a.m., Friday, June 16, 2017. Ms. Shiyou is to transport Nicholas
                Shiyou directly to the treatment center. Once Shiyou has completed the treatment
                program, Probation Officer Brandon Bang is to be notified at 228-224-5231, and the
                procedures will be implemented to begin electronic monitoring (RF).

                3) The defendant shall complete 6 months of Electronic Monitoring (RF) upon his
                completion of Home of Grace at the defendant’s own expense.
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              4) The defendant shall attend and complete the Drug Court Program conducted by U.S.
              Magistrate Judge Michael Parker.

              5) The defendant shall not consume any mood altering substances.


       The Court ordered that sentencing in this matter is hereby held in abeyance. Should the
defendant violate any of the terms and conditions of his supervised release, the defendant shall
come before the court for sentencing in this matter. If the defendant completes his term of
supervised release with no violations, this matter will be dismissed upon the completion of the
defendant’s term of supervised release.

       A copy of this Order shall be delivered to the Marshal Service for their authority to
provide for the release of Shiyou to his mother at 8:00 a.m., Friday, June 16, 2017. Also, a
Certified Copy of this Order shall be forwarded to the officials at Home of Grace to put them on
notice of the requirement that Probation Officer Brandon Bang be notified when Shiyou
completes treatment.



       So Ordered and Adjudged this the _15th__ day of June, 2017.



                                   ___s/Keith Starrett_________

                                    United States District Judge
